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SCHENCK, PRICE, SMITH & KING, LLP
220 Park Avenue
P.O. Box 991
Florham Park, New Jersey 07932-0991
John M. Bowens, Esq.
(973) 539-1000
Attorneys for Plaintiff,
Morris County Board of Chosen Freeholders

                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY




MORRIS COUNTY BOARD OF                    CASE NO.: _______________
CHOSEN FREEHOLDERS

               Plaintiff,                ORDER TO SHOW CAUSE WITH
                                          TEMPORARY RESTRAINTS
v.

FREEDOM FROM RELIGION
FOUNDATION and DAVID
STEKETEE

              DefendantS.



       THIS MATTER having been brought before the Court by Plaintiff, through
its counsel, by Order to Show Cause seeking a temporary restraining order and
preliminary injunction pursuant to Federal Rule of Civil Procedure 65 and L. Civ.
R. 65.1, and upon the Verified Complaint, and Memorandum of Law submitted
herewith the Court having determined that good and sufficient reasons exist to
proceed by way of Order to Show Cause, and for good cause shown.

      IT IS on this _____ day of April, 2019, ORDERED that the Defendants appear
and show cause on the _____ day of _______________, 2019, before the United
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States District Court for the District of New Jersey, Hon. __________________, at
the Martin Luther King Building & U.S. Courthouse, located at 50 Walnut Street,
Newark, New Jersey 07101 at _____ o’clock, or as soon thereafter as counsel can
be heard, why an Order should not be entered;

      A.       Preliminarily and permanently enjoining Defendants from recovering

any attorneys’ fees in relation to its pending application to the Superior Court of

New Jersey, Chancery Division, Somerset County, entitled Freedom From Religion

Foundation, et al. v. Morris County Board of Chosen Freeholders, et al., Docket No.

SOM-C-12089-15;

      B.       Ordering such other and further relief as the Court deems just and

appropriate.

      And it is further ORDERED that:

      1.      A copy of this Order to Show Cause, Verified Complaint, and
Memorandum of Law submitted in support of this application, together with a
summons, shall be served upon the Defendant personally within _____ days of the
date hereof, in accordance with FRCP 4.

      2.    Plaintiff must file with the Court its proof of service of the pleadings
on the Defendants no later than three (3) days before the return date.

      3.   Defendants shall file and serve a written response to this Order to Show
Cause and proof of service by ____________________, 2019. You must send a
courtesy   copy    of    your     opposition      papers    directly    to     Judge
_________________________,                 whose             address              is:
_______________________________, New Jersey _________.
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      4.    Plaintiff must file and serve any written reply to the Defendants’
opposition to the Order to Show Cause by ______________________, 2019. A
courtesy copy of the reply papers must be sent directly to the chambers of Judge
________________________.

      5.     If Defendants do not file and serve opposition to this Order to Show
Cause, the application will be decided on the papers on the return date and relief may
be granted by default, provided that the Plaintiff files a proof of service and a
proposed form of Order at least three days prior to the return date.

       6.    If Plaintiff has not already done so, a proposed form of Order
addressing the relief sought on the return date (along with a self-addressed return
envelope with return address and postage) must be submitted to the Court no later
than three (3) days before the return date.

       7.     The Court will notify the parties whether it will entertain argument on
the return date of the Order to Show Cause in accordance with Local Civil Rule 78.1.



                                                  ___________________________
                                                  United States District Court Judge
